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UNITED STATES DISTRICT COURT                                         DOC#:                         .
SOUTHERN DISTRICT OF NEW YORK                                        DATE FILED: I L' / 2 :;· t, ·S



 RICARDO ORTIZ,

                               Plaintiff,
                                                                  No. 16-CV-4412 (RA)
                          V.
                                                                         ORDER
 CAFE 71 INC., et al.,

                               Defendants.


RONNIE ABRAMS, United States District Judge:

         On August 28, 2017, Plaintiff Ricardo Ortiz submitted a declaration from Scott A. Lucas,

attorney for Plaintiff, which includes a copy of the retainer agreement provided to Mr. Ortiz. The

retainer agreement states that Mr. Ortiz has been provided with an unsigned copy of the agreement

in Spanish in an effort to better help him understand his rights and obligations under the agreement.

         No later than October 31, 2018, Plaintiff shall submit a declaration affirming that Plaintiff's

counsel has similarly reviewed the terms of the proposed settlement agreement with Mr. Ortiz in

his native language, whether orally through a translator or by written copy of the proposed

settlement agreement in Mr. Ortiz's native language.

SO ORDERED.

Dated:      October 25, 2018
            New York, New York

                                                     RorinieAbrams             ===~-,
                                                     United States District Judge
